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                                        [CASE CAPTION]


                                 [JOINT] INITIAL STATUS REPORT


1.     The Nature of the Case:

         A. Identify (names and contact information) for all attorneys of record for each
            party, including the lead trial attorney.

         B.   Briefly describe the nature of the claims asserted in the complaint and any
              Counterclaims and/or third party claims.

         C. Briefly identify the major legal and factual issues in the case.

         D. State the relief sought by any of the parties.

2.     Jurisdiction: Explain why the Court has subject matter jurisdiction over the plaintiff(s)’
       claim(s).

         A.   Identify all federal statutes on which federal question jurisdiction is based.

         B.   If jurisdiction over any claims is based on diversity or supplemental jurisdiction:

              (1) State whether/why the amount in controversy exceeds the jurisdictional
                  threshold or whether there is a dispute regarding the amount in controversy
                  (and, if so, the basis of that dispute).

              (2) Identify the state of citizenship of each named party. For unincorporated
                  associations, LLC’s, partnerships and other business entities that are not
                  corporations, the state(s) in which any individual members of the business
                  unit are citizens must be identified.

                  NOTE 1: Individuals are citizens of the state where they are domiciled; that
                  may or may not be the state where they currently reside. See Heinen v.
                  Northrop Grumman Corp., 671 F.3d 669 (7th Cir. 2012).

                  NOTE 2: The report must address whether there is diversity in any case in
                  which pendent jurisdiction over state law claims is asserted, so that the
                  Court may exercise informed discretion about whether to resolve such claims
                  in the event that the federal question claims are resolved or dismissed.

3.     Status of Service: Identify any defendants that have not been served.
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4.     Consent to Proceed Before a United States Magistrate Judge: Confirm that counsel have
       advised the parties that they may proceed before a Magistrate Judge if they consent
       unanimously and advise whether there is, or is not, unanimous consent. Do NOT report
       whether individual parties have so consented.

5.     Motions:

         A.   Briefly describe any pending motions.

         B.   State whether the defendant(s) anticipate responding to the complaint by filing
              an Answer or by means of motion.

              NOTE 3: If the latter, counsel should be prepared to discuss at the Initial Status
              Hearing the basis of the anticipated motion.

6.     Status of Settlement Discussions:

         A.   Indicate whether any settlement discussions have occurred;

         B.   Describe the status of any settlement discussions; and

         C.   Whether the parties request a settlement conference.

              NOTE 4: Do NOT provide the particulars of any demands/offers that have been
              made.
